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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA                )
                                        )         CRIMINAL ACTION NO.
       v.                               )           2:17cr131-MHT
                                        )                (WO)
HANNAH SILAS                            )

                            OPINION AND ORDER

      This cause is now before the court on the question

whether defendant Hannah Silas has the mental capacity

to   stand    trial,      that    is,       whether   she   is    currently

suffering from a mental disease or defect rendering her

mentally incompetent to the extent that she is unable

to    understand      the     nature        and   consequences      of     the

proceedings against her or to assist properly in her

defense.      See 18 U.S.C. § 4241(a).                Based on all the

evidence     and    the   parties’ representations               made    at   a

hearing held on February 9, 2018, the court concludes

that Silas has the mental capacity to stand trial.

      Pursuant       to     the    government’s         request,         Silas

received     a     psychological        evaluation     at   the     Federal

Medical Center, Carswell in Fort Worth, Texas.                           After
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conducting the evaluation, a forensic psychologist, Dr.

Amor     Correa,     produced      a     psychological       report       to

describe Silas’s condition.

       The report found that, though Silas previously met

criteria for Substance-Induced Psychotic Disorder, she

is   competent     to   stand     trial    so   long    as   she    avoids

abusing controlled substances:

       “As detailed in the Course of the Evaluation,
       Ms. Silas did not present with any major
       mental health symptoms during the evaluation
       period that would prevent her from being a
       competent defendant. She has demonstrated the
       ability to retain legal and Court concepts and
       apply these concepts to her own case in a
       rational    manner.    In   addition,    she   has
       displayed no psychological deficits that would
       prevent her from assisting her attorney in her
       defense.     She was able to communicate without
       substantial difficulty and discuss her case
       with     this    evaluator     across     multiple
       interviews.        The    same   ability    should
       generalize    to   her   interactions   with   her
       attorney.”

Forensic     Psychological       Evaluation      (doc.    no.    375,     at

11).    Both parties agree with this evaluation.                   And she

is not currently abusing drugs.




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    Based     upon     the     psychological        evaluation          and

pursuant to 18 U.S.C. § 4241(a), the court concludes

that Silas is not currently suffering from a mental

disease or defect such that she is unable to understand

the nature and consequences of the proceedings against

her or to assist properly in her defense.

                                ***

    Accordingly, it is ORDERED that defendant Hannah

Silas is declared mentally competent to stand trial in

this cause.

    DONE, this the 9th day of February, 2018.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
